        Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 1 of 36




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

SIX CONTINENTS HOTELS, INC.
and SIX CONTINENTS LIMITED,                               Civil Action No.

       Plaintiffs
                                                          JURY TRIAL DEMANDED
v.

OMNI HOTELS CORPORATION
and OMNI HOTELS MANAGEMENT
CORPORATION,

       Defendants.


                                        COMPLAINT

       Plaintiffs Six Continents Hotels, Inc. and Six Continents Limited (individually and

collectively along with predecessors in interest, “IHG”) bring this Complaint against Defendants

Omni Hotels Corporation and Omni Hotels Management Corporation (individually and

collectively, “Omni”), alleging as follows, upon actual knowledge with respect to themselves

and their own acts, and upon information and belief as to all other matters:

                                NATURE OF THE ACTION

       1.     This is an action for trademark infringement, trade dress infringement, and unfair

competition under federal, Georgia state, and common law, and deceptive trade practices under

Georgia state law.

       2.     With a rich history spanning over 200 years, IHG is one of the world’s largest and

most well-known hotel companies, with a portfolio of nearly 20 hotel brands. IHG has invested

significant resources developing a distinctive visual brand identity comprised of its signature

deep blue color, its logo design, and the unique look and feel of its website and other marketing
        Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 2 of 36




materials. IHG’s visual brand identity enables consumers and others to readily identify and

distinguish IHG and its hotel services from competitors.

       3.     IHG’s direct competitor, Omni, recently rebranded. But rather than selecting its

own distinctive brand identity from the infinite options available to it, Omni elected instead to

mimic IHG.

       4.     Omni adopted a virtually indistinguishable shade of IHG’s deep blue color:

               IHG’s Primary Brand Color            Omni’s Primary Brand Color




       5.     Omni transformed its corporate logo from one prominently featuring a flower

design with “HOTELS & RESORTS” in equal prominence to OMNI to a new logo jettisoning

the flower design and mirroring the overall look and feel of IHG’s logo. Like IHG’s logo,

Omni’s copycat logo appears atop its website.

                                                              Prior Omni Logo




                IHG’s Logo                                    New Omni Logo




       6.     Omni did not stop with IHG’s color and logo. It also copied numerous other

distinctive features of IHG’s website, creating an overall look and feel for its website that

consumers are likely to confuse with IHG.




                                                2
        Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 3 of 36




                IHG’s Website                                    Omni’s Website




       7.      Omni’s intent is obvious and inescapable: to gain an instant marketplace boost by

passing itself off as IHG and/or one of IHG’s hotel brands.

       8.      IHG thus seeks permanent injunctive relief and other remedies to protect its

trademarks, business, reputation, and the public.

                               PARTIES AND JURISDICTION

       9.      Plaintiff Six Continents Hotels, Inc. is a Delaware corporation with a principal

place of business at Three Ravinia Drive, Suite 100, Atlanta, Georgia, 30346.

       10.     Plaintiff Six Continents Limited is a British multinational corporation with a

principal place of business at 1 Windsor Dials, Arthur Road, Windsor, Berkshire, SL4 1RS,

United Kingdom.

       11.     Defendant Omni Hotels Corporation is a Delaware corporation with its principal

place of business at 4001 Maple Avenue, Suite 600, Dallas, Texas 75219.

       12.     Defendant Omni Hotels Management Corporation is a Delaware corporation with

its principal place of business at 4001 Maple Avenue, Suite 600, Dallas, Texas 75219.

       13.     This Court has jurisdiction over the subject matter of this action pursuant to

15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a) and (b). The Court has supplemental

jurisdiction over IHG’s state-law claims pursuant to 28 U.S.C. §§ 1338(b) and 1367(a) because

they are substantially related to its federal claims and arise out of the same case or controversy.



                                                3
        Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 4 of 36




       14.     This Court has personal jurisdiction over Omni because it has purposely availed

itself of the privilege of conducting business in the District. Omni has hotel properties in this

District and offers, markets, promotes, and sells its services in connection with its infringing

activities to consumers located in the District. Moreover, IHG’s intellectual property is within

the District and IHG is being harmed in this District from Omni’s infringing activities.

       15.     Venue lies in this District pursuant to 28 U.S.C. § 1391(b) and (c) because a

substantial part of the events giving rise to IHG’s claims occurred in this District and because the

property that is the subject of the action—i.e., IHG’s asserted intellectual property—is situated in

this District, where IHG maintains its U.S. headquarters and principal place of business.

             IHG, ITS SERVICES, AND ITS DISTINCTIVE BRAND IDENTITY

       16.     With its history tracing back to The Bass Brewery, founded in 1777, IHG, through

its predecessors, was initially famous for its beer and pub services before becoming one of the

world’s largest, most successful, and well-known hotel companies.

       17.     IHG has long been recognized as a pioneer in the hotel industry. Among its many

important innovations that have forever changed the industry, IHG offered the first hotel

franchising model in 1954, the first computerized reservation system in 1965, and the first hotel

loyalty rewards program in 1983.

       18.     Over the years, IHG has developed some of the most well-known and trusted

hotel brands. For example, in 1946, IHG launched what would become one of the world’s first

luxury international hotel chains under the INTERCONTINENTAL brand. And in 1952, IHG

debuted its HOLIDAY INN brand designed to offer quality, affordable, and dependable

accommodations to U.S. travelers. By 1956, HOLIDAY INN had become the world’s largest

hotel brand.



                                                 4
        Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 5 of 36




       19.     Today, IHG’s growing portfolio consists of nearly 20 hotel brands with more than

6,200 properties located across 100+ countries. IHG offers a loyalty rewards program, IHG ONE

REWARDS, which provides points redeemable for hotel stays as well as various guest

experience enhancements and benefits to loyalty members, including access to exclusive credit

cards, special room rate discounts, dedicated booking services, early check-in and late check-out,

room upgrades and amenities, and elite lounge access. The IHG ONE REWARDS program has

become one of the world’s largest loyalty programs with more than 130 million members.

       20.     In February 2021, following extensive effort and significant investment by the

company, IHG publicly announced its launch of a new visual brand identity to further reflect the

company’s evolving story and portfolio. IHG’s announcement was widely reported in the hotel

industry and elsewhere.

                                 IHG’s Deep Blue Trademark

       21.     IHG selected a distinctive shade of blue (the “Deep Blue Mark”), shown below, to

serve as its primary corporate color.




       22.     Since February 2021, IHG has used the Deep Blue Mark prominently in

connection with the advertisement and sale of its hotel services, loyalty program, and other

services. Through IHG’s extensive use over this time, consumers have come to recognize the

Deep Blue Mark as one of IHG’s trademarks identifying the source of IHG’s services.

       23.     IHG spent significant amounts of money between 2021-2023 in the United States

to advertise, promote, and market its hotels and resorts, loyalty rewards program, and other

offerings using nearly every form of media, including but not limited to the IHG website at

                                                5
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 6 of 36




https://www.ihg.com/ (“IHG’s website”), mobile application, and social media accounts;

nationally televised commercials; print advertising; and billboards and signage.

       24.    IHG’s Deep Blue Mark has been prominently featured throughout these

marketing and promotional materials/outlets. For example, the Deep Blue Mark appears

immediately and throughout IHG’s website, which is one of the main ways consumers learn

about and make bookings for IHG’s 6,200+ properties. IHG’s website also features IHG’s

loyalty program, credit cards, mobile application, and many other IHG services and products.

Representative images of IHG’s website appear below.




                                              6
         Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 7 of 36




         25.    In addition, IHG’s Deep Blue Mark is prominently used throughout IHG’s mobile

application. IHG’s app allows users to, among other things, search for and book hotel

accommodations, access trip details, and track and redeem rewards accumulated through IHG’s

loyalty program. IHG’s app has been downloaded on more than 10 million devices and

consistently ranks among the top apps in the travel category of the Apple App Store and Google

Play Store, where the app is available for free download. Representative images of IHG’s app

appear below.




         26.    IHG’s Deep Blue Mark is also prominently displayed on IHG’s social media

accounts on Instagram, Twitter, Facebook, and LinkedIn through which IHG regularly interacts

with its millions of followers. Representative images from IHG’s social media accounts appear

below.


                                              7
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 8 of 36




       27.    IHG’s widespread use of the Deep Blue Mark extends to its advertisements in

other digital channels, such as web banners, videos, and email newsletters. Representative

images of IHG’s digital advertising appear below.




                                              8
Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 9 of 36




                              9
      Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 10 of 36




       28.    IHG’s Deep Blue Mark has also been prominently featured in nationally televised

commercials on popular networks and streaming services, such as ABC, ESPN, NBC, CBS, Fox,

Fox Sports 1, Hulu, Amazon Prime, Peacock, and Disney+. Still images from representative

television commercials appear below.




       29.    The Deep Blue Mark similarly appears in IHG’s print advertisements, including

in direct mailings and well-known newspapers and magazines, such as The New York Times, The




                                            10
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 11 of 36




Wall Street Journal, People, AFAR, Sports Illustrated, and Southern Living. Representative

images of IHG’s print advertisements appear below.




       30.    IHG’s Deep Blue Mark has also been featured on signage and billboards across

major U.S. transport hubs and other heavily trafficked locations. For example, IHG’s Deep Blue

Mark has appeared on thousands of signs and billboards throughout major U.S. airports, such as

Atlanta Hartsfield-Jackson Airport, Dallas/Fort Worth International Airport, O’Hare

International Airport, San Francisco International Airport, Washington (Dulles) International

Airport, and Logan International Airport. Further, in 2022 and 2023, the exteriors of New York

City subway trains and buses were fully wrapped in IHG’s Deep Blue Mark and corresponding

ads. Representative images of IHG signage and billboards appear below.




                                             11
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 12 of 36




       31.     In addition to advertising, IHG has also promoted its hotel and other services

using the Deep Blue Mark through various high-profile partnerships and sponsorships for major

sports and cultural events, motorsports activities, and various charitable and nonprofit endeavors.

       32.     For example, IHG has sponsored many high-profile music and film festivals,

including the Lollapalooza Festival in Chicago, Music Midtown in Atlanta, Governors Ball

Music Festival in New York City, Austin City Limits Music Festival, and Palm Springs

International Film Festival. IHG’s Deep Blue Mark appears on various banners, signage, and

promotional giveaways throughout these festivals, e.g.:




                                                12
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 13 of 36




       33.    IHG is the official hotel partner and hotel loyalty program of the U.S. Open

Tennis Championships held annually in Queens, New York. IHG’s Deep Blue Mark has been

prominently displayed at and in connection with the prestigious tennis tournament, including in

print and digital advertisements, on stadium advertising boards, and on digital displays, e.g.:




                                               13
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 14 of 36




       34.    IHG has also hosted official U.S. Open events where IHG has used its Deep Blue

Mark in a myriad of ways. For example, at the 2023 U.S. Open, IHG launched the IHG Athletic

Club, a pop-up social club where IHG’s Deep Blue Mark was used on pickleball courts, signage,

and promotional giveaways, e.g.:




       35.    In June 2022, IHG was named the Official Hotel Partner of Major League Soccer

(MLS)—the fastest growing professional sports league in North America. As part of this




                                             14
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 15 of 36




partnership, IHG’s Deep Blue Mark has been prominently featured at major MLS events,

including the MLS All-Star Game, MLS Cup Playoffs, and MLS Cup, e.g.:




       36.     As a result of IHG’s widespread use of the Deep Blue Mark in its marketing and

promotional materials, the Deep Blue Mark has been the subject of billions of consumer

impressions.

       37.     IHG and its Deep Blue Mark have also received extensive unsolicited media

attention and are regularly featured in major publications and media platforms, such as Forbes,

BBC News, Bloomberg, Good Morning America, CNN, People, Skift, and Yahoo, to name a few.




       38.     IHG’s hotel services offered under the Deep Blue Mark have received many

significant awards, such as Stella Awards’ Best Global Hotel Chain, Global RepTrak 100, Global


                                              15
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 16 of 36




Traveler’s Best Hotel Rewards Program, The Points Guy’s Best Hotel Loyalty Enhancement, Go

Travel Awards’ Most Inspiring Loyalty Program, Fortune’s 100 Best Workplaces for Women,

Hospitality Technology’s Hotel Visionary Award, and Human Rights Campaign Foundation’s

Equality 100 Award, among others.

       39.    As a result of the activities addressed above featuring the Deep Blue Mark, IHG

has achieved considerable commercial success. From 2021 to the present, IHG has generated

billions in revenue in the United States. A substantial percentage of IHG’s U.S. revenue is

derived from room bookings made through IHG channels utilizing the Deep Blue Mark. For

example, from February 2021 through July 2023, U.S. consumers made more than 40 million

bookings through IHG’s website and mobile application, which, as detailed above, both

prominently feature IHG’s Deep Blue Mark.

       40.    IHG’s Deep Blue Mark is nonfunctional, as the color serves no purpose other than

to identify IHG and its services.

       41.    As a result of IHG’s widespread use and promotion of its Deep Blue Mark and

significant commercial success under the mark, the Deep Blue Mark has acquired secondary

meaning as a distinctive indicator of source for IHG’s services described above and embodies

immeasurable goodwill.

                                    IHG’s Website Trade Dress

       42.    Since launching its current visual brand identity in February 2021, IHG’s website

has consistently used a distinctive design to distinguish IHG and its services from others in the

marketplace. The distinctive appearance of IHG’s website includes the following features—the

combination of which create a distinctive trade dress that is uniquely associated with IHG (the

“Website Trade Dress”):



                                               16
Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 17 of 36




     a.    Consistent placement of the IHG HOTELS & RESORTS trademark

           (“IHG H&R Trademark”), covered by U.S. Reg. No. 7,080,612, at the top

           of the website in a custom-designed font style depicted here:




     b.    Prominent use of a color scheme featuring the Deep Blue Mark and white

           for background and text, e.g.:




     c.    A header located at the top of the webpage, featuring (i) the IHG H&R

           Trademark with “IHG” in a wide typeface adjacent to “HOTELS &

           RESORTS” in a slightly smaller sans-serif typeface with no

           accompanying design elements, and (ii) menu options each in a sans-serif

           typeface, e.g.:




                                   17
Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 18 of 36




     d.    Use of the IHG H&R Trademark, displaying “IHG” and “HOTELS &

           RESORTS” in both (i) white text with the Deep Blue Mark as background

           and (ii) black text with a white background, e.g.:




     e.    Use of the IHG H&R Trademark, displaying “IHG” (i) above “HOTELS

           & RESORTS” and (ii) to the left of “HOTELS & RESORTS,” e.g.:




     f.    Destination-by-interest pages featuring (i) the header; (ii) an image

           depicting a destination type (e.g., beaches, mountains) below the header;

                                   18
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 19 of 36




                     (iii) text of the destination type (e.g., beach hotels & resorts, ski resorts)

                     overlaying the image; and (iv) a destination search bar below the image,

                     e.g.:




       43.    IHG uses its Website Trade Dress on both the desktop and mobile versions of its

website. Representative screenshots of IHG’s website are attached hereto as Exhibit A.

       44.    From February 2021 through August 2023, IHG’s website attracted millions of

monthly visitors who were located in the United States.




                                              19
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 20 of 36




       45.     IHG conducts a significant portion of its business through its website. For

example, from February 2021 through August 2023, U.S. consumers made more than 20 million

room bookings through IHG’s website.

       46.     IHG’s Website Trade Dress is nonfunctional, as the arbitrary combination of

features comprising the trade dress serve no purpose other than to identify IHG and its services.

       47.     IHG’s Website Trade Dress is inherently distinctive and protectable.

Alternatively, IHG’s Website Trade Dress has become protectable through acquired

distinctiveness resulting from its exclusive, extensive, widespread, and consistent use in

connection with IHG and IHG’s hospitality services as addressed above, and the significant

commercial success of IHG services offered in connection with IHG’s Website Trade Dress.

                                OMNI’S WRONGFUL ACTS

       48.     Omni recently launched a new visual brand identity. According to Omni’s press

statements, this change marked Omni’s “first major shift in visual identity in more than a

decade” and embodies “a fresh logo and visual design” as part of Omni’s “new look and feel.”

Yet, Omni selected an identity, including a color and website design, that was neither “fresh” nor

“new,” but rather one that is virtually indistinguishable from IHG’s Deep Blue Mark and

Website Trade Dress.

       49.     Of all the colors in the spectrum, Omni chose a shade of blue (the “Infringing

Color”) that is virtually indistinguishable from IHG’s Deep Blue Mark.

                    IHG’s Deep Blue Mark            Omni’s Infringing Color




                                               20
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 21 of 36




       50.    Like IHG, Omni uses the Infringing Color in a variety of digital and print

channels, including online, social media, and television commercials, to advertise, market, and

promote hospitality services in direct competition with IHG, as shown below:




                                              21
Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 22 of 36




                              22
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 23 of 36




       51.     Omni also selected a new logo to replace its previous logo that prominently

featured a distinctive flower design and the words “OMNI” and “HOTELS & RESORTS” all in

the same font style and size, e.g.:

              Omni’s Prior Logo                                   Omni’s New Logo




       52.     Omni’s new logo not only incorporates the Infringing Color but also features

other elements that mimic those featured in IHG’s logo, including the font style and relative font

size of “OMNI” and “HOTELS & RESORTS,” e.g.:

                    IHG’s Logo                                    Omni’s New Logo




       53.     In addition to using the Infringing Color and new logo, Omni also adopted a

website design (the “Infringing Website Design”) that closely imitates IHG’s Website Trade

Dress by incorporating many of the same elements, e.g.:

               a.      Consistent placement of OMNI HOTELS & RESORTS at the top of the

                       website in the font style depicted here:




               b.      Prominent use of a color scheme featuring the Deep Blue Mark and white

                       for background and text, e.g.:



                                               23
Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 24 of 36




 IHG’s Website Trade Dress                  Omni’s Infringing Website Design




     c.    A header located at the top of the webpage, featuring (i) “OMNI” in a

           wide typeface adjacent to “HOTELS & RESORTS” in a slightly smaller

           sans-serif typeface with no accompanying design elements, and (ii) menu

           options each in a sans-serif typeface, e.g.:




                                    24
Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 25 of 36




 IHG’s Website Trade Dress               Omni’s Infringing Website Design




      d.    Use of “OMNI HOTELS & RESORTS” in both (i) white text with the

            Deep Blue Mark as background, and (ii) black text with a white

            background, e.g.:

 IHG’s Website Trade Dress                Omni’s Infringing Website Design




      e.    Use of “OMNI” both (i) above “HOTELS & RESORTS” and (ii) to the

            left of “HOTELS & RESORTS,” e.g.:

 IHG’s Website Trade Dress                Omni’s Infringing Website Design




                                   25
Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 26 of 36




     f.    Destination-by-interest pages featuring (i) the header; (ii) an image

           depicting a destination type (e.g., beaches, mountains) below the header;

           (iii) text of the destination type (e.g., beach hotels & resorts, ski resorts)

           overlaying the image; and (iv) a destination search bar below the image,

           e.g.:

 IHG’s Website Trade Dress                   Omni’s Infringing Website Design




                                    26
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 27 of 36




       54.    Like IHG, Omni offers a desktop and mobile version of its website, both of which

incorporate the Infringing Website Design. Representative screenshots of Omni’s website are

attached hereto as Exhibit B.

       55.    Through its website and mobile application, Omni offers many of the same

services that IHG offers through the IHG website and mobile application, including hotel

booking services, loyalty services, meeting and event services, restaurant services, and spa

services.

       56.    Aware of IHG, its trademark rights, and its widespread recognition in the hotel

industry, Omni knew or should have known that its use of the Infringing Color and/or Infringing

Website Design would likely cause confusion with IHG and trade off the reputation IHG has

worked tirelessly to build over the years.


                                              27
          Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 28 of 36




                            INJURY TO IHG AND THE PUBLIC

          57.   Omni’s use of the Infringing Color and Infringing Website Design are likely to

cause confusion, mistake, and/or deception as to the source or origin of Omni’s services, and are

likely to falsely suggest a sponsorship, connection, or association between Omni, its services,

and/or its commercial activities with IHG and its services.

          58.   Omni’s acts, as described above, have damaged and irreparably injured and, if

permitted to continue, will further damage and irreparably injure IHG and its trademark rights.

          59.   Omni’s acts, as described above, have damaged and irreparably injured and, if

permitted to continue, will further damage and irreparably injure the public, who has an interest

in being free from confusion, mistake, and deception. Because Omni is offering identical and/or

closely related services to IHG’s services using a primary brand color and website design

indistinguishable from IHG’s Deep Blue Mark and Website Trade Dress, consumer confusion is

likely.

          60.   Omni has acted knowingly, willfully, in reckless disregard of IHG’s rights, and in

bad faith.

                                         COUNT I
                       Trademark Infringement, False Designation
                            of Origin, and Unfair Competition
                Under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)

          61.   IHG repeats and realleges each and every allegation in Paragraphs 1-60 as if fully

set forth herein.

          62.   IHG’s Deep Blue Mark is and has been distinctive since before Omni’s first use

of the Infringing Color based on, among other things, extensive nationwide use, promotion,

commercial success, and marketplace recognition.




                                                28
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 29 of 36




       63.     Omni’s uses of the Infringing Color, as described above, are likely to cause

confusion, or mistake, or to deceive as to the origin, affiliation, connection, association,

sponsorship, or approval of Omni, its services, and/or its commercial activities by or with IHG,

and thus constitute trademark infringement, false designation of origin, and/or unfair competition

in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

                                         COUNT II
                       Trade Dress Infringement, False Designation
                            of Origin, and Unfair Competition
                Under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)

       64.     IHG repeats and realleges each and every allegation in Paragraphs 1-63 as if fully

set forth herein.

       65.     IHG’s Website Trade Dress is and has been distinctive since before Omni’s first

use of the Infringing Website Design, based on, among other things, its inherent distinctiveness

or acquired distinctiveness through extensive nationwide use, promotion, commercial success,

and marketplace recognition.

       66.     Omni’s use of the Infringing Website Design, as described above, is likely to

cause confusion, or mistake, or to deceive as to the origin, affiliation, connection, association,

sponsorship, or approval of Omni, its services, and/or its commercial activities by or with IHG,

and thus constitutes trade dress infringement, false designation of origin, and/or unfair

competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

                                      COUNT III
                     Trademark Infringement and Unfair Competition
                              Under O.C.G.A. § 23-2-55

       67.     IHG repeats and realleges each and every allegation in Paragraphs 1-66 as if fully

set forth herein.




                                               29
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 30 of 36




       68.     Georgia’s O.C.G.A. § 23-2-55 prohibits any attempt to encroach upon the

business of another by the use of similar trademarks or names with the intention of deceiving and

misleading the public.

       69.     Omni’s aforementioned activities have damaged IHG and will, unless enjoined by

the Court, further impair the value of IHG’s Deep Blue Mark, reputation, and goodwill. This

harm constitutes an injury for which IHG has no adequate remedy at law.

       70.     By reason of the foregoing, IHG is entitled to permanent injunctive relief against

Omni, restraining it and all those in active concert and participation with Omni from any further

acts of encroaching on IHG’s business and recovery of any damages (to the extent calculable)

proven to have been caused by reason of Omni’s aforesaid acts, among other remedies provided

for by law.

                                       COUNT IV
                     Trade Dress Infringement and Unfair Competition
                                Under O.C.G.A. § 23-2-55

       71.     IHG repeats and realleges each and every allegation in Paragraphs 1-70 as if fully

set forth herein.

       72.     Georgia’s O.C.G.A. § 23-2-55 prohibits any attempt to encroach upon the

business of another by the use of similar trademarks or names with the intention of deceiving and

misleading the public.

       73.     Omni’s aforementioned activities have damaged IHG and will, unless enjoined by

the Court, further impair the value of IHG’s Website Trade Dress, reputation, and goodwill. This

harm constitutes an injury for which IHG has no adequate remedy at law.

       74.     By reason of the foregoing, IHG is entitled to permanent injunctive relief against

Omni, restraining it and all those in active concert and participation with Omni from any further

acts of encroaching on IHG’s business and recovery of any damages (to the extent calculable)

                                               30
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 31 of 36




proven to have been caused by reason of Omni’s aforesaid acts, among other remedies provided

for by law.

                                        COUNT V
                                 Deceptive Trade Practices
                              Under O.C.G.A. § 10-1-372 et seq.

       75.     IHG repeats and realleges each and every allegation in Paragraphs 1-74 as if fully

set forth herein.

       76.     Omni’s aforementioned activities constitute deceptive trade practices in violation

of Georgia law, O.C.G.A. § 10-1-372 et seq.

       77.     Omni’s conduct has damaged IHG and will, unless enjoined by the Court, further

impair the value of IHG’s Deep Blue Mark, reputation, and goodwill. This harm constitutes an

injury for which IHG has no adequate remedy at law.

       78.     By reason of the foregoing, IHG is entitled to permanent injunctive relief against

Omni, restraining it and all those in active concert and participation with Omni from any further

acts of deceptive trade practices and recovery of any damages (to the extent calculable) proven to

have been caused by reason of Omni’s aforesaid acts, among other remedies provided for by law.

                                        COUNT VI
                                 Deceptive Trade Practices
                              Under O.C.G.A. § 10-1-372 et seq.

       79.     IHG repeats and realleges each and every allegation in Paragraphs 1-78 as if fully

set forth herein.

       80.     Omni’s aforementioned activities constitute deceptive trade practices in violation

of Georgia law, O.C.G.A. § 10-1-372 et seq.

       81.     Omni’s conduct has damaged IHG and will, unless enjoined by the Court, further

impair the value of IHG’s Website Trade Dress, reputation, and goodwill. This harm constitutes

an injury for which IHG has no adequate remedy at law.

                                               31
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 32 of 36




       82.     By reason of the foregoing, IHG is entitled to permanent injunctive relief against

Omni, restraining it and all those in active concert and participation with Omni from any further

acts of deceptive trade practices and recovery of any damages (to the extent calculable) proven to

have been caused by reason of Omni’s aforesaid acts, among other remedies provided for by law.

                                        COUNT VII
                        Trademark Infringement and Unfair Competition
                                Under Georgia Common Law

       83.     IHG repeats and realleges each and every allegation in Paragraphs 1-82 as if fully

set forth herein.

       84.     IHG has common law rights in its Deep Blue Mark throughout the country,

including in Georgia.

       85.     Omni’s aforementioned actions are likely to cause confusion, or to cause mistake,

or to deceive as to the affiliation, connection, or association of Omni with IHG or its Deep Blue

Mark, or as to the origin, affiliation, connection, association, sponsorship, or approval of Omni,

its services, and/or its commercial activities by or with IHG.

       86.     Omni has acted, and continues to act, willfully, deliberately, and with full

knowledge of IHG’s use of and common law rights in its Deep Blue Mark and without regard to

the likelihood of confusion and misleading of the public created by Omni’s actions.

       87.     Omni’s acts constitute infringement of IHG’s proprietary rights in its Deep Blue

Mark, misappropriation of IHG’s goodwill in that mark, and unfair competition under Georgia

common law.

       88.     Omni’s conduct has irreparably damaged IHG and will, unless enjoined by the

Court, further impair the value of IHG’s Deep Blue Mark, reputation, and goodwill. This harm

constitutes an injury for which IHG has no adequate remedy at law.



                                               32
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 33 of 36




                                       COUNT VIII
                     Trade Dress Infringement and Unfair Competition
                              Under Georgia Common Law

       89.     IHG repeats and realleges each and every allegation in Paragraphs 1-88 as if fully

set forth herein.

       90.     IHG has common law rights in its Website Trade Dress throughout the country,

including in Georgia.

       91.     Omni’s aforementioned actions are likely to cause confusion, or to cause mistake,

or to deceive as to the origin, affiliation, connection, association, sponsorship, or approval of

Omni with IHG or its Website Trade Dress, or as to the origin, sponsorship, or approval of

Omni, its services, and/or its commercial activities by or with IHG.

       92.     Omni has acted, and continues to act, willfully, deliberately, and with full

knowledge of IHG’s use of and common law rights in its Website Trade Dress and without

regard to the likelihood of confusion and misleading of the public created by Omni’s actions.

       93.     Omni’s acts constitute infringement of IHG’s proprietary rights in its Website

Trade Dress, misappropriation of IHG’s goodwill in that trade dress, and unfair competition

under Georgia common law.

       94.     Omni’s conduct has irreparably damaged IHG and will, unless enjoined by the

Court, further impair the value of IHG’s Website Trade Dress, reputation, and goodwill. This

harm constitutes an injury for which IHG has no adequate remedy at law.

                                   PRAYER FOR RELIEF

       WHEREFORE, IHG respectfully requests that this Court enter judgment in its favor on

each and every claim for relief set forth above and award it relief, including the following:




                                               33
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 34 of 36




       1.      An Order declaring that Omni’s use of the Infringing Color infringes the Deep

Blue Mark and constitutes deceptive trade practices and unfair competition under federal and/or

state law, as detailed above;

       2.      An Order declaring that Omni’s use of the Infringing Website Design infringes

IHG’s Website Trade Dress and constitutes deceptive trade practices and unfair competition

under federal and/or state law, as detailed above;

       3.      An Order, enjoining Omni, its officers, directors, employees, agents, subsidiaries,

distributors, dealers, related companies, and all persons in active concert or participation with

any of them:

                  a) From using, registering, or seeking to register any name, mark, logo, trade

                      name, company name, source identifier, or designation comprised of or

                      containing IHG’s Deep Blue Mark, Website Trade Dress, or any other

                      confusingly similar name, mark, logo, trade dress, trade name, company

                      name, source identifier, or designation in any manner likely to cause

                      confusion with IHG’s Deep Blue Mark or Website Trade Dress, or to

                      otherwise injure IHG and/or its reputation;

                  b) From representing, by any means whatsoever, directly or indirectly, that

                      Omni, its services, and/or its activities originate from, are sponsored by, or

                      are associated, affiliated, or connected with IHG in any way; and

                  c) From assisting, aiding, and/or abetting any other person or entity in

                      engaging in or performing any of the activities referred to in

                      subparagraphs 3(a) through 3(b) above;




                                               34
       Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 35 of 36




       4.      An Order requiring Omni to immediately retract and destroy all signage,

advertisements, promotional materials, stationery, forms, and/or materials and things that contain

or bear the Infringing Color, the Infringing Website Design, and/or any other name, mark, logo,

trade dress, trade name, company name, source identifier, or designation that contains or is

confusingly similar to IHG’s Deep Blue Mark or Website Trade Dress;

       5.      An Order directing that, within thirty (30) days after the entry of the injunction,

Omni file with this Court and serve on IHG’s attorneys a report in writing and under oath setting

forth in detail the manner and form in which Omni complied with the injunction;

       6.      An Order requiring Omni to account for and pay to IHG all profits arising from

Omni’s unlawful acts, and increasing such profits, in accordance with 15 U.S.C. § 1117 and

other applicable laws;

       7.      An Order requiring Omni to pay IHG damages, in an amount to be determined,

resulting from Omni’s unlawful acts pursuant to 15 U.S.C. § 1117 and other applicable laws;

       8.      An Order requiring Omni to pay IHG punitive damages under Georgia law,

O.C.G.A. § 51-12-5.1, in an amount to be determined due to the foregoing willful acts of Omni;

       9.      An Order requiring Omni to pay IHG’s costs and attorneys’ fees in this action

pursuant to 15 U.S.C. § 1117 and Georgia law, O.C.G.A. § 10-1-373, and other applicable laws;

and

       10.     Other relief as the Court may deem just and appropriate.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, IHG demands trial by jury in

this action of all issues triable by jury in this matter.




                                                  35
      Case 1:24-mi-99999-UNA Document 648 Filed 02/28/24 Page 36 of 36




Dated: February 28, 2024              Respectfully submitted,

                                       /s/ R. Gordon Wright
                                      Danny M. Awdeh (pro hac vice pending)
                                      901 New York Avenue, NW
                                      Washington, DC 20001
                                      Telephone: (202) 408-4000
                                      Facsimile: (202) 408-4400
                                      FINNEGAN, HENDERSON, FARABOW
                                           GARRETT & DUNNER, LLP
                                      danny.awdeh@finnegan.com

                                      Laura K. Johnson (pro hac vice pending)
                                      Two Seaport Lane
                                      Boston, MA 02210
                                      Telephone: (617) 646-1600
                                      Facsimile: (617) 646-1666
                                      FINNEGAN, HENDERSON, FARABOW
                                          GARRETT & DUNNER, LLP
                                      laura.johnson@finnegan.com

                                      R. Gordon Wright (Ga. Bar No. 321339)
                                      271 17th Street, NW, Suite 1400
                                      Atlanta, GA 30363
                                      Telephone: (404) 653-6400
                                      Facsimile: (404) 653-6444
                                      FINNEGAN, HENDERSON, FARABOW
                                         GARRETT & DUNNER, LLP
                                      gordon.wright@finnegan.com

                                      Attorneys for Plaintiffs Six Continents Hotels,
                                      Inc. and Six Continents Limited




                                    36
